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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF INDIANA

 IN RE:                                    )           Chapter 11
                                           )
 EASTERN LIVESTOCK CO., LLC,               )           CASE NO.: 10-93904-BHL-11
                                           )
               Debtor.                     )           Hon. Basil H. Lorch, III
                                           )
 RUSH CREEK RANCH, LLLP,                   )           Adv. Pro. No. 11-59104
                                           )
               Plaintiff,                  )
                                           )
 v.                                        )
                                           )
 EASTERN LIVESTOCK COMPANY, LLC,           )
 ARCADIA STOCKYARD, CATTLEMEN’S            )
 LIVESTOCK MARKET, COLUMBIA LIVESTOCK )
 MARKET OF LAKE CITY, INC., HARDEE         )
 LIVESTOCK MARKET, INC., NORTH FLORIDA )
 LIVESTOCK MARKET, OCALA LIVESTOCK         )
 MARKET, INC., OKEECHOBEE LIVESTOCK        )
 MARKET, SUMTER COUNTY FARMER’S            )
 MARKET, INC., TOWNSEND LIVESTOCK          )
 MARKET, FIFTH THIRD BANK, JAMES BYRD,     )
 a/k/a I.E. BYRD, OAK LAKE CATTLE COMPANY, )
 INC., D&R TRUCKING, RON SIZEMORE          )
 TRUCKING, INC., BANKS 1-25, and           )
 DOES 25-50,                               )
                                           )
               Defendants.                 )
                                           )

  FLORIDA CREDITORS SUPPLEMENTAL ATTACHMENT TO PROOF OF CLAIMS

          COMES NOW Creditors HILLIARD-MCKETTRICK INVESTMENTS, INC. d/b/a

 ARCADIA STOCKYARD, CATTLEMEN’S LIVESTOCK AUCTION MARKET, INC.;

 COLUMBIA LIVESTOCK MARKET OF LAKE CITY, INC.; HARDEE LIVESTOCK

 MARKET, INC.; NORTH FLORIDA LIVESTOCK MARKET, INC.; OCALA LIVESTOCK

 MARKET, INC.; OKEECHOBEE LIVESTOCK MARKET, INC.; SUMTER COUNTY

 FARMERS MARKET, INC.; and MADISON LIVESTOCK MARKET, INC. d/b/a



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 TOWNSEND LIVESTOCK MARKET, (collectively “Florida Markets”); RON SIZEMORE

 TRUCKING, INC. (“Sizemore”); OAK LAKE CATTLE CO. (“Oak Lake”); EAGLE BAY,

 INC. (“Eagle”); and DANIEL M. BYRD (“D. Byrd”) (and collectively “Florida Creditors”)

 and submit this Supplement: (i) Claim Nos. 181, 182, 183, 184, 185, 186 with respect to paid in

 funds by Len Miller (“Miller”); (ii) Claim Nos. 191, 192, 193, 194, 195, 196, 197, 198, 199 with

 respect to funds interpled by Rush Creek Ranch, LLLP (“Rush Creek”)(Adversary Case No. 10-

 93904-BHL-11); (iii) Claim No. 190 of Sizemore for hauling charges on the cattle shipped to

 Miller and Rush Creek; (vi) Claim Nos. 187, 188, and 189 of respectively Oak Lake, Eagle, and

 Byrd for a series of transactions including those in question of Miller and Rush Creek; and

 Claims Nos. 225, 226, 227, 228, 229, 230, 232, and 233 pursuant to Section 68.065, Florida

 Statute, governing dishonored checks and further state as follows:

                                        BACKGROUND

        1.      The amounts due the Florida Markets and Sizemore result from transaction

 amounts due and unpaid on cash sales of livestock purchased at auction in Florida between

 October 11, 2010 and November 3, 2010 by I.E. “Jim” Byrd of Oak Lake as the “Order Buyer”

 for Len Miller and Rush Creek Ranch. The amounts claimed by Oak Lake, Eagle, and D. Byrd

 encompass 114 transactions in 2010 for which I.E. “Jim” Byrd also served as “Order Buyer.” In

 all of these transactions, Debtor Eastern Livestock Co., LLC served as “Clearing Agency” for

 Oak Lake as “Clearee”—a relationship more particularly described in 9 C.F.R. §§201.10(d),

 201.29(c), 201.30(c), and 201.31(c)—the regulations governing the Packers and Stockyards Act

 of 1921, 7 U.S.C. §§181 et seq. (“Stockyards Act”). Because Eastern acted only as a “Clearing

 Agency” in the transactions in question, the Florida Creditors continue to assert that the funds

 due and unpaid are and never were not part of the bankruptcy estate. In addition to the non-




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 payment of amounts due pursuant to contract and statute, the Florida Creditors have suffered

 continuing damages in bank interest and legal fees and costs incurred.

        2.      The livestock business in the United States is governed under Stockyards Act and

 regulations. This particularly includes all “cash sales”1 of livestock at auction markets which

 describe the Florida transactions in question. The Stockyards Act and regulations are

 administered by the U.S. Department of Agriculture, Grain Inspection, Packers and Stockyards

 Administration (“GIPSA”). With respect to matters concerning title and failure for want of

 consideration, fraudulent checks, and deceptive and unfair trade practices which are also

 implicated in the present instance—these are governed by the law of the state where the sales

 originated, in this case Florida, and federal bankruptcy law.

                                Florida Market Agency Claimants

        3.      The Florida Creditors consist of: (a) nine (9) livestock auction markets selling

 livestock at auction consigned by livestock producers in the state (collectively “Florida

 Markets”); (b) one (1) livestock trucker or hauler (“Sizemore”); and (c) an individual Order

 Buyer operating through his company (“Oak Lake”) and affiliates which include his son, another

 Order Buyer (“D.Byrd”), and a stockyard services company (“Eagle Bay”). Each of the Florida

 Creditors participants in the livestock business and “market agencies” as defined pursuant to

 §201 of the Stockyards Act and, as such, are each required to carry a surety bond in proscribed




 1
                        (c) . . . a cash sale means a sale in which the seller does not
                expressly extend credit to the buyer.
 7 U.S.C. §196(c)




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 amounts for the protection of unpaid sellers of livestock.2 See 9 C.F.R §§201.10(a); 201.27-34;

 Exhibit A (Bond Claims approved by GIPSA); Exhibit B (Eastern “Clearee” List).

        4.      Market Agencies selling on commission, which in the present instance includes

 all of the Florida Markets, are also required under the Stockyards Act to maintain custodial

 accounts for shippers proceeds.3 When consigned livestock are sold at auction, the Florida

 Markets render payment to the consignor producers immediately out of these custodial accounts.

 The actual purchasers or buyers that bid on the livestock through their Order Buyers or directly

 are required to render payment of the full purchase price to the auction markets before the close


 2
                Section 301. “Stockyard owner”; “stockyard services”; “market agency”;
                “dealer”; defined.
                        When used in this Act—
                        (a) The term “stockyard owner” means any person engaged in
                the business of conducting or operating a stockyard;
                        (b) The term “stockyard services” means services or facilities
                furnished at a stockyard in connection with the receiving, buying, or
                selling on a commission basis or otherwise, marketing, feeding,
                watering, holding, delivery, shipment, weighing, or handling in
                commerce, of livestock;
                        (c) The term “market agency” means any person engaged in
                the business of (1) buying or selling in commerce livestock on a
                commission basis or (2) furnishing stockyard services; and
                        (d) The term “dealer” means any person, not a market agency,
                engaged in the business of buying or selling in commerce livestock,
                either on his own account or as the employee or agent of the vendor or
                purchaser.
 7 U.S.C. §201 [Emphasis added]
 3
                § 201.42 Custodial accounts for trust funds.
                         (a) Payments for livestock are trust funds. Each payment that a
                livestock buyer makes to a market agency selling on commission is a
                trust fund. Funds deposited in custodial accounts are also trust funds.
                         (b) Custodial accounts for shippers' proceeds. Every market
                agency engaged in selling livestock on a commission or agency basis
                shall establish and maintain a separate bank account designated as
                "Custodial Account for Shippers' Proceeds," or some similar identifying
                designation, to disclose that the depositor is acting as a fiduciary and that
                the funds in the account are trust funds.
 9 CFR §201.42, Regulations Under The Packers and Stockyards Act. [Emphasis added]




                                                     4
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 of business the next business day. 7 U.S.C. §228b(a) These payments are deposited into the

 custodial account bringing it back into balance, theoretically within 24 hours. However, the

 “mailbox” rule applies to payments, so checks written in payment the next business day can take

 mail delivery time and funds clearing time before the custodial account is in balance. The

 auction markets are required to deposit into the custodial account before close of business

 the next day after sale “(1) the proceeds from the sale of livestock that have been collected;”

 and (2) the receivable amounts due from livestock purchased by the auction market or its owners,

 officers, or employees or a credit buyer. 9 C.F.R. §201.42(c) The Stockyard Act and

 regulations require that the custodial account of the stockyards/auction markets be totally

 in balance within seven (7) days. 9 C.F.R. §201.42 Consequently, the auction markets are

 required to deposit all amounts not collected, including dishonored check amounts, before the

 close of the seventh day until the account has been reimbursed in full. Id.

                       . . . The market agency shall thereafter deposit in the
                custodial account all proceeds collected until the account has been
                reimbursed in full, and shall, before the close of the seventh day
                following the sale of livestock, deposit an amount equal to all the
                remaining proceeds receivable whether or not the proceeds have
                been collected by the market agency

 9 C.F.R. §201.42(c)

        5.      Under the Stockyards Act all deposits into a custodial account are trust funds held

 for the protection of unpaid sellers. 9 C.F.R. §201.42(a)4 This includes check deposits that are

 ultimately dishonored. See Central Bank of Mississippi v. Butler, 517 So.2d 507 (Miss. 1987).




 4
        This is distinguished from the “Packers Trust” under 7 U.S.C, 196.




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                     Eastern As Dealer, Market Agency, And Clearing Agency

         6.      Depending on the transactions in question, Debtor Eastern acted as a “Dealer” for

 its own account or that of others as an employee or agent on commission or in other instances as

 a “Market Agency” or in Florida a “Clearing Agency.” See 7 U.S.C. §201(c) and (d); 9 C.F.R.

 §§201.10(d), 201.29, 201.30(c), 201.31(c). The Stockyards Act regulations, specifically 9 C.F.R.

 §201.31 identifies four (4) separate capacities in which the a “dealer,” “market agency,” or

 “packer” may properly enagage under a surety bond. These capacities are termed bond Condition

 Clause Nos. 1-4. Id. In Florida only Condition Clause No. 3 identifying the role of “Clearing

 Agency” is implicated. As noted previously, I.E “Jim” Byrd through Oak Lake served as “Order

 Buyer” for his livestock buyer clients and cleared all of Oak Lake’s transactions as “Clearee”

 through Debtor Eastern as “Clearing Agency.”5 See Exhibits B, C, D, E, and F. As a Condition

 Clause No. 3 “Clearing Agency” Debtor Eastern had a duty: (i) to render payment when due to

 the parties entitled to proceeds from purchases by the “Clearee” and (ii) to safely keep and

 properly disburse all funds held as “Clearing Agency” for the Clearee for the purpose paying for

 livestock purchased.

                         (c) Condition Clause No. 3: When the [bond] principal
                 clears other registrants buying livestock and thus is responsible for
                 the obligations of such other registrants. If the said [bond]
                 principal, acting as a clearing agency responsible for the financial
                 obligations of other registrants engaged in buying livestock, viz:
                 (Insert here the names of such other registrants as they appear in
                 the application for registration), or if such other registrants, shall
                 (1) pay when due to the person or persons entitled thereto the


 5
         I.E. “Jim” Byrd’s arrangement with Eastern called for: (i) payment to Eastern of a clearing
 commission calculated at $.50 per 100 lbs wt. of livestock purchased; (ii) commission payment net of
 Eastern transaction expenses which could include losses or errors on livestock shipped, livestock losses or
 deaths in transit, buyer non-payment, and in some cases interest on livestock inventory held by Byrd; (iii)
 advice and direction by Byrd to Eastern for all purchases of livestock and distributions for commissions,
 yardage and other expenses—all of which evidence Eastern’s agency relation to Oak Lake.



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                purchase price of all livestock purchased by such other
                registrants for their own account or for the accounts of others;
                and (2) safely keep and properly disburse all funds coming into
                the hands of such [bond] principal or such other registrants for
                the purpose of paying for livestock purchased for the accounts of
                others.

 9 C.F.R. §201.31(c). [Emphasis added]

        7.      This duty has now fallen to the Trustee of Chapter 11 Debtor Eastern Livestock

 Co., LLC. The Florida Creditors claims are for amounts due from unpaid sales of livestock

 purchased by Oak Lake as Order Buyer for his clients and “Clearee” of Eastern acting as

 “Clearing Agency.” The failure of the Trustee to render payment may be a violation of the

 Stockyards Act. “An individual who is in the position to control the trust assets and who does

 not preserve them for the beneficiaries has breached a fiduciary duty, and is personally liable

 for that tortious act.” Matter of Snyder, 184 B.R. 473, 475 (D.Md.1995); Central Bank Of

 Mississippi v. Butler, 517 So.2d 507 (Miss. 1987).

        8.      Acting as “Clearing Agency”—an agent for the Order Buyer/Clearee Oak Lake

 Cattle Co.—Debtor Eastern never took title in the livestock transactions in Florida. Title in these

 instances passed directly from livestock producers as sellers to the actual buyers for whom Oak

 Lake acted as Order Buyer and agent. The Florida Markets or sale barns were Market Agencies

 selling livestock on consignment. The Order Buyer, Oak Lake, was a Market Agency buying for

 his clients but clearing the transactions through Eastern as Clearing Agency.

        9.      Eastern, the Trustee, Fifth Third Bank, and their counsel have on numerous

 occasions mistakenly referred to I.E. “Jim” Byrd and Oak Lake at a “Branch.” This implies that

 Eastern “employed” Byrd or the Oak Lake was an “independent contractor” in some way or that

 Eastern somehow directed the activities of Byrd and Oak Lake. This was not the case. Just the

 reverse was true. First, Byrd and Oak Lake purchased for their livestock buyer clients—filling



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 orders, bidding, purchasing, and shipping cattle at auction as “Order Buyer.” Second, the auction

 markets invoiced Byrd/Oak Lake directly for the purchases. Byrd/Oak Lake as “Clearee” would

 then advise Eastern as “Clearing Agency” of the payments due. Third, Byrd/Oak Lake would

 submit the accumulated invoices to the buyers, again directly, and advised Eastern of the

 invoiced amounts and the payees. Fourth and finally, Byrd/Oak Lake shouldered the risk in the

 transactions, essentially guaranteeing Eastern’s clearing commission on a net, net, net basis.

 Byrd would be responsible for all transaction expenses, including losses from livestock errors or

 deaths in transit and non-payment by the buyer. Eastern was essentially Byrd/Oak Lake’s back

 office. Eastern was in fact agent to Byrd/Oak Lake and Byrd/Oak Lake were agents to their

 buyer clients. See Exhibits C, D, E, and F (Affidavits of K.Tanner, C,McKettrick, T.Clemons,

 and I.E.Byrd).

        10.       The failure to deliver payment of shippers’ proceeds has long been recognized as

 proscribed deceptive practice under the Stockyards Act, which is designed to prevent potential

 injury by stopping unlawful practices in their incipiency. Daniels v. United States, 242 F.2d 39,

 42 (7th Cir. 1957). Indeed, proof of a particular injury is not required to establish a claim where

 payment has not been rendered, as here. Id; see also Van Wyk v. Bergland, 570 F.2d 701 (8th Cir.

 1978)(Failure of corporation engaged in buying and selling of cattle to pay for livestock in a

 timely manner falls within regulatory scheme of the Stockyards Act. Fact that corporation’s

 inability to meet its obligations might be characterized as debtor/creditor problem was

 irrelevant). Eastern’s failure to render payment, much less timely payment, was a violation of the

 Stockyards Act. Id.; 7 U.S.C. §228b(c) This responsibility to render payment falls to the Trustee

 not only upon stepping into Eastern’s shoes but also as a party in a position to control the trust

 assets. See Snyder, 184 B.R. 473, 475; Central Bank Of Mississippi, 517 So.2d 507, 510-11




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 Indeed, as a party in a position to control trust asset payments, the account hold and set-off

 causing numerous checks deposited to custodial accounts across the country to be dishonored for

 insufficient funds and return to maker are violations for which under Snyder and Central Bank of

 Missippi even Fifth Third Bank may be held personally liable. Id.

        11.     Finally, with respect to the Rush Creek and Len Miller purchases and the

 dishonoring of checks written in payment for livestock—Eastern not only failed to clear the

 transactions in violation of the Stockyards Act but also violated Florida’s fraudulent check law. ,

 By delivering payment for the livestock purchased with dishonored checks, Eastern committed a

 per se fraudulent practice in Florida for which remedy is provided under Section 68.065, Florida

 Statutes—Actions To Collect Worthless Checks, Drafts, Or Orders Of Payment; Attorney's Fees

 And Collection Costs. Section 68.065 governs collection actions under Florida law for the

 dishonoring of checks. Upon demand for payment under the statute, Section 68.065 provides

 strict liability to the “payee for recovery of the face amount of the dishonored check plus up to a

 five percent (5%) service charge. If payment is not forthcoming within thirty (30) days in

 response to demand, the payee has a right of action for: (i) the face amount of the dishonored

 check, (ii) plus the service charge of up to five percent (5%) of the face amount, (iii) plus bank

 fees incurred by the payee, (iv) plus prejudgment statutory interest, (v) plus triple the face

 amount in damages, (vi) plus court costs and reasonable attorney fees. The Florida Markets have

 asserted claim nos. 226, 227, 228, 229, 230,232, and 233 for dishonored checks as outlined

 herein after making the statutory required demand on or about May 1, 2011.6


 6
         Separately and upon becoming aware of Fifth Third Bank’s complicity in the dishonoring
 of the checks, the Florida Markets made the statutory demand upon Fifth Third Bank on or about
 January 9, 2012.




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                                       CLAIM SUMMARIES

             12.   The amount of the claims from all of the Florida livestock markets arising from

  the Rush Creek Ranch, LLC and Len Miller purchases between October 11, 2010 and November

  3, 2010 are summarized below. Beginning with Rush Creek the claim payment and distribution

  summary follows below. Detail supporting the nature of the Rush Creek transactions, and the

  amounts due and payable to the transaction participants is attached hereto in Exhibits C-F

  (Affidavits);Exhibit F, Ex.C, at 44-50 (Rush Creek summaries), and Exhibit G (Rush Creek

  detail).

                                      Rush Creek Ranch, LLLP

                                   Claim                       Total       No.
                   Party           Nos.       Description     Weight      Head   Rush Creek
       ARCADIA STOCKYARD            191     Livestock Sales      33,615   175    $   45,928.29
       CATTLEMENS L/S MKT           192     Livestock Sales      17,060    87    $   23,055.28
       COLUMBIA L/S MKT             193     Livestock Sales       4,100    23    $    5,265.77
       HARDEE L/S MKT               194     Livestock Sales      11,295    56    $   13,254.70
       NORTH FLA L/S MKT            195     Livestock Sales       3,530    18    $    4,759.70
       OCALA L/S MKT                196     Livestock Sales       5,195    26    $    7,138.35
       OKEECHOBEE L/S MKT           197     Livestock Sales       7,020    36    $    8,880.60
       SUMTER CO FARMS MK           198     Livestock Sales       8,325    42    $    8,664.90
       TOWNSEND L/S MKT             199     Livestock Sales       2,035    11    $    2,485.20
       Florida Markets Total                Livestock Sales     92,175    474    $ 119,432.79


       Ron Sizemore Trucking        190     Trucking                      n/a    $   1,422.69

                                            Purch.
       Oak Lake Cattle Co.        187-189   Commiss.                      n/a    $   1,900.52

       D & R TRUCKING                       Trucking                       n/a   $     139.04
       PACO ANUEZ                           Trucking                       n/a   $      26.59

       EASTERN Clearing                     Clear. Commiss.   $.50/cwt    n/a    $      666.47
       EASTERN Payments                     Livestock Pmts.      41,120   217    $   54,645.19
       Total EASTERN                                            41,120    217    $ 55,311.66


       TOTALS                                                  133,295    691    $ 178,233.29




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         13.      The nature of the Len Miller and the Rush Creek transactions was identical,

  except for where the buyer rendered payment. In Rush Creek the sale proceeds were interpled

  with the Wisconsin state court. The Len Miller payment was rendered to the Trustee as a

  Purchase Money and follows below. Detail supporting the nature of the Miller transactions and

  the amounts due and payable to participants is attached hereto in Exhibits C-F

  (Affidavits);Exhibit F, Ex.D, at 51-55 (Miller summaries), and Exhibit H (Miller detail).

                                                Len Miller

                                Claim                          Total      No.
             Party              Nos.          Description     Weight     Head         Miller
   ARCADIA STOCKYARD             181      Livestock Sales       28,655    79      $    28,556.06
   CATTLEMENS L/S MKT            183      Livestock Sales       11,340    99      $    37,382.15
   HARDEE L/S MKT                185      Livestock Sales        8,365    32      $    10,888.80
   OCALA L/S MKT                 184      Livestock Sales       23,275    23      $     8,490.10
   OKEECHOBEE L/S MKT            182      Livestock Sales       36,515    65      $    23,104.48
   SUMTER CO FARMS MK            186      Livestock Sales       22,040    64      $    22,280.16
   Florida Markets Total                  Livestock Sales     130,190    362      $ 130,701.75


   Ron Sizemore Trucking         190      Trucking                       n/a      $   13,956.91


   Eagle Bay, Inc.                        Yardage, etc                   n/a      $      2,265.40
   Oak Lake Cattle Co.                    Purch. Commiss.                n/a      $      1,493.45
   Less: Adjustment                       Livestock Sales                (4)      $       (636.32)
   Total Oak Lake               187-189                                  (4)      $       857.13

   EASTERN                                Clearing Commiss.   $.50/cwt   n/a      $       650.95
   EASTERN                                Livestock Pmts.                n/a      $        -
   Total EASTERN                                                         n/a      $       650.95


   TOTAL PAYMENTS                                             130,190    358      $ 148,432.14



         14.      The combined Florida claims on the Rush Creek and Len Miller payments and

  distribution summary for the Florida Markets and Sizemore on claims 181, 182, 183, 184, 185,

  186, 190, 191, 192, 193, 194, 195, 196, 197, 198, and 199 are below. See Exhibits C-H. Details

  for the Oak Lake, Eagle Bay, and Daniel Byrd claim nos. 187, 188, and 189 are to be found in

  Exhibit I discussed, Infra.


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                     Combined Rush Creek Ranch, LLLP and Len Miller Transactions

                            Claim    RC                   Claim     LM                         Total
          Party             Nos.    Head   Rush Creek     Nos.     Head      Len Miller        Head      TOTAL
  ARCADIA STOCKYARD          191     175   $ 45,928.29     181        79    $ 28,556.06          254   $ 74,484.35
  CATTLEMENS L/S MKT         192      87     23,055.28     183        99      37,382.15          186     60,437.43
  COLUMBIA L/S MKT           193      23      5,265.77                 --             --          23      5,265.77
  HARDEE L/S MKT             194      56     13,254.70     185        32      10,888.80           88     24,143.50
  NORTH FLA L/S MKT          195      18      4,759.70                 --             --          18      4,759.70
  OCALA L/S MKT              196      26      7,138.35     184        23       8,490.10           49     15,628.45
  OKEECHOBEE L/S MKT         197      36      8,880.60     182        65      23,104.48          101     31,985.08
  SUMTER CO FARMS MK         198      42      8,664.90     186        64      22,280.16          106     30,945.06
  TOWNSEND L/S MKT           199      11      2,485.20                 --             --          11      2,485.20
  Florida Mkts. Total                474   $119,432.79              362     $130,701.75         836    $250,134.54

  Oak Lake                                     1,900.52                         1,493.45                   3,393.97
  Eagle Bay, Inc.                                  0.00                         2,265.40                   2,265.40
  Less: Adjustment                                 0.00                         (636.32)                   (636.32)
                                                          187-
  Total Oak Lake           187-89            $1,900.52     89                 $3,122.53                  $5,023.05

  Total Sizemore             190             $1,422.69     190               $13,956.91                 $15,379.60

  D & R TRUCKING                                139.04                                    --                139.04
  PACO ANUEZ                                     26.59                                    --                 26.59
  Total Other                                 $165.63                                  --                 $165.63

  EASTERN                                        666.47                           650.95                   1,317.42
  EASTERN                            217      54,645.19                --              --        217      54,645.19
  Total Due EASTERN                  217    $55,311.66                          $650.95         217     $55,962.61

  TOTAL
  TRANSACTIONS                             $178,233.29                      $148,432.14                $326,665.43

        TOTAL Net Due
        Florida Markets              257   $122,921.63              362     $147,781.19         619    $270,702.82



          15.        As noted previously, I.E. “Jim” Byrd through his company Oak Lake Cattle Co.

  and together with his son, Daniel Byrd, served as Order Buyers for their clients that included

  certainly the Rush Creek and Miller transactions outlined above but also included transactions

  with D.R. Daniels, Jacob Larson, Cody Whitney, Tom Berend and Tom Herrmann among others.

  All of these transactions were cleared by Eastern as “Clearing Agency” and Oak Lake as

  “Clearee.” The clearing arrangement with Eastern called for Eastern to receive a clearing


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  commission calculated at $.50 per 100 lbs wt. (also referred to as “hundred weight” or “/cwt”) of

  livestock purchased and paid net of the transaction costs which Eastern recovered. In effect Oak

  Lake guaranteed the net clearing commission to Eastern. The transaction risk was all Oak

  Lake’s. See Note 5, Supra. Oak Lake’s account with Eastern consisted of the Oak Lake

  commissions after netting transaction expenses or losses from the ongoing series of transactions.

  Id. The transaction losses could potentially include livestock shipping errors and deaths in transit

  and buyer non-payment. Id.




         16.     For each buyer invoice submitted by Oak Lake to its customers, Byrd/Oak Lake

  would accumulate the Florida Market livestock purchases for that customer with a “Cattle


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  Worksheet” identifying the (i) invoiced livestock amount, (ii) trucking expenses, (iii) yardage

  expenses, (iv) buying commissions, (v) clearing commission, and (vi) a final P&L to Oak Lake.

  The “Cattle Worksheet” for the transactions in question can be found in the attached detail. A

  Rush Creek “Cattle Worksheet” on Invoice No. 291141 that was cleared in January 2010 is

  represented above. See Exhibits G, at 59, 75, 91, 107 and Exhibit H, at 124, 136

         17.       Below is the Amended Claim Summary for Claims 187, 188, and 189 taking into

  account the “Cleared” transactions in 2010 with Eastern for which Oak Lake, Eagle Bay, and

  Daniel Byrd did not receive payment, a dishonored check for yardage services to Eagle Bay, and

  the livestock for which Eastern paid but did not receive payment (exclusive of Rush Creek and

  Miller).

                      Amended Oak Lake Cattle Co., Eagle Bay, and Daniel Byrd

                                                  Oak Lake        Eagle Bay        D. Byrd
           DESCRIPTION                            Claim 187       Claim 188       Claim 189        TOTAL
    Invoices 291141 to 291254 Inclusive
  Total Revised Claims 187, 188, 189              $34,819.48      $29,718.58     $10,309.27     $74,848.33

  1. Transaction Invoice Claim Adjustments

                Collected From EASTERN in 2010     ($4,599.42)    ($26,508.92)   ($10,309.27)    ($41,165.21)
               Check No.122470 Return To Maker                      $1,057.90                      $1,057.90

  TOTAL DUE OAK LAKE                              $30,220.06       $4,268.56          $0.00     $34,488.62

  2. Livestock Inventory Sold Adjustments
                             No. Head   Wt.
        Cattle #11 - No. Hd.     161  29490        ($34,633.10)                                  ($34,633.10)
      Cattle #11X - No. Hd.      209  38569        ($40,991.42)                                  ($40,991.42)
      Cattle #91X - No. Hd.       14  13300        ($10,000.00)                                  ($10,000.00)
  TOTAL DUE (EASTERN)            384 81359       ($85,624.52)          $0.00          $0.00     ($85,624.52)

  NET DUE OAK LAKE / (EASTERN)                   ($55,404.46)      $4,268.56          $0.00     ($51,135.90)


         18.       Detail supporting the Oak Lake, Eagle Bay, and D. Byrd claims 187, 188, and 189

  respectively is attached as Exhibit I.




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         19.     When Eastern failed to clear the transactions of several of Oak Lake’s customers

  either with dishonored checks or non-payment, these customers paid Oak Lake directly and Oak

  Lake in turn paid the Florida Markets. The transaction invoices in question are identified below:

                          Oak Lake Customer Direct Payment To Markets

                        Invoice     Invoice     No.      Total
        Buyer            Nos.        Dates     Head       Wt.        Cattle        Total Invoice
    Tommy Berend        291250     29-Oct-10    63      24,020    $ 25,946.98      $ 27,161.82
    Tommy Berend        291255     05-Nov-10    42      15,960    $ 17,161.35      $ 17,982.13
       Total Berend                            105      39,980    $ 43,108.33      $ 45,143.95

    D.R. Daniel          291256    05-Nov-10     58     51,960    $ 34,113.33      $ 34,373.13
    Total D.R. Daniel                            58     51,960    $ 34,113.33      $ 34,373.13

    Tom Herrmann         29149     29-Oct-10     73     18,600    $ 20,469.78      $ 22,884.04
     Total Herrmann                              73     18,600    $ 20,469.78      $ 22,884.04

    Jacob Larson         291252    04-Nov-10     49     38,830    $ 13,767.67      $ 14,547.27
         Total Larson                            49     38,830    $ 13,767.67      $ 14,547.27

         20.     Again, these are transactions which Eastern would normally have cleared and may

  have attempted to clear without success. When the Clearing Agency failed to perform, the

  Buyers paid the Florida Markets directly.

         21.     Finally, there are the Florida Market claims for nineteen (19) dishonored checks

  pursuant to Section 68.065, Florida Statutes. All of the checks were delivered by Debtor Eastern

  as “Clearing Agency” in payment for livestock purchased by Oak Lake as Order Buyer for its

  purchaser clients and as “Clearee” of Eastern. The checks were deposited into the custodial

  accounts of the Florida Markets and subsequently dishonored. Demand upon the maker of the

  checks pursuant to the Section 68.065(3), Florida Statutes, was made on or about May 1, 2011. A

  summary of the checks and the claims under Florida law is below. Detail for these transactions

  including copies of the demand letters and cancelled checks can be found in Claims 225, 226,

  227, 228, 229, 230, 232, and 233.




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                         Florida Markets Claims Under Section 68.065, Florida Statutes

                                                                                                         Excl. Of Fees
            Eastern                            Face         5% Face          Demand       Multiple 3X      & Costs
  Date       Ck. No.           Payee         Amount        Collection        Amount       Face Amt.       TOTAL DUE
26‐Oct‐10   123349      Arcadia              $15,220.99        $761.05       $15,982.04    $45,662.97      $60,883.96
21‐Oct‐10   122977      Arcadia              $21,470.37      $1,073.52       $22,543.89    $64,411.11      $85,881.48
28‐Oct‐10   124749      Arcadia              $42,078.29      $2,103.91       $44,182.20   $126,234.87     $168,313.16
29‐Oct‐10   124923      Arcadia               $1,586.95         $79.35        $1,666.30     $4,760.85       $6,347.80
Claim No. 225 (4 cks)   Total Arcadia        $80,356.60      $4,017.83       $84,374.43   $241,069.80     $321,426.40

20‐Oct‐10    122880     Cattlemen's            $8,925.86      $446.29         $9,372.15     $26,777.58      $35,703.44
27‐Oct‐10    123604     Cattlemen's           $30,286.46    $1,514.32        $31,800.78     $90,859.38     $121,145.84
 Claim No. 226 (2cks)   Total Cattlemen’s    $39,212.32    $1,960.62        $41,172.94    $117,636.96     $156,849.28

20‐Oct‐10    123345     Columbia              $4,534.51       $226.73        $4,761.24     $13,603.53      $18,138.04
 Claim No. 227 (1 ck)   Total Columbia       $4,534.51      $226.73         $4,761.24     $13,603.53      $18,138.04

29‐Oct‐10   124922      Hardee                 $2,700.10      $135.01         $2,835.11     $8,100.30      $10,800.40
26‐Oct‐10   123347      Hardee                 $9,360.30      $468.02         $9,828.32    $28,080.90      $37,441.20
Claim No. 228 (2 cks)   Total Hardee         $12,060.40     $603.02         $12,663.42    $36,181.20      $48,241.60

10/26/10    123343      Ocala Livestock        $6,691.70      $334.59         $7,026.29    $20,075.10       $26,766.80
10/27/10    124657      Ocala Livestock        $4,713.15      $235.66         $4,948.81    $14,139.45       $18,852.60
10/29/10    125925      Ocala Livestock       $11,778.70      $588.94        $12,367.64    $35,336.10       $47,114.80
11/2/10     125124      Ocala Livestock        $3,687.15      $184.36         $3,871.51    $11,061.45       $14,748.60
11/2/10     125146      Ocala Livestock        $2,425.20      $121.26         $2,546.46     $7,275.60        $9,700.80
Claim No. 229 (5 cks)   Total Ocala          $29,295.90    $1,464.80        $30,760.70    $87,887.70      $117,183.60

27-Oct-10    124607     Okeechobee            $15,171.87        $758.59      $15,930.46     $45,515.61      $60,687.48
29-Oct-10    124924     Okeechobee             $4,404.03        $220.20       $4,624.23     $13,212.09      $17,616.12
26-Oct-10    123351     Okeechobee            $13,671.72        $683.59      $14,355.31     $41,015.16      $54,686.88
Claim No. 230 (3 cks)   Total Okeechobee     $33,247.62    $1,662.38        $34,910.00    $99,742.86      $132,990.48

27‐Oct‐10    124606     Sumter                $26,775.75    $1,338.79        $28,114.54    $80,327.25      $107,103.00
 Claim No. 232 (1 ck)   Total Sumter         $26,775.75    $1,338.79        $28,114.54    $80,327.25      $107,103.00

27‐Oct‐10    124609     Townsendt             $2,485.20       $124.26        $2,609.46       $7,455.60       $9,940.80
 Claim No. 233 (1 ck)   Total Townsend       $2,485.20      $124.26         $2,609.46      $7,455.60       $9,940.80

No. Checks      19      TOTAL MARKETS       $227,968.30    $11,398.42      $239,366.72    $683,904.90     $911,873.20




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         Respectfully submitted this 9th day of March 2012,

                                                      W. SCOTT NEWBERN, P. L

                                                      /s/ W. Scott Newbern
                                                      W. SCOTT NEWBERN
                                                      Florida Bar No. 0098108
                                                      2982 East Giverny Circle
                                                      Tallahassee, Florida 32309
                                                      (T) 850.591.1707
                                                      (F) 850.894.0824
                                                      wsnewbern@msn.com

  COUNSEL FOR CLAIMANTS HILLIARD-MCKETTRICK INVESTMENTS, INC. d/b/a
  ARCADIA STOCKYARD, CATTLEMEN’S LIVESTOCK AUCTION MARKET, INC.;
  COLUMBIA LIVESTOCK MARKET OF LAKE CITY, INC.; HARDEE LIVESTOCK
  MARKET, INC.; NORTH FLORIDA LIVESTOCK MARKET, INC.; OCALA LIVESTOCK
  MARKET, INC.; OKEECHOBEE LIVESTOCK MARKET, INC.; SUMTER COUNTY
  FARMERS MARKET, INC.; MADISON LIVESTOCK MARKET, INC. d/b/a TOWNSEND
  LIVESTOCK MARKET; RON SIZEMORE TRUCKING, INC.; OAK LAKE CATTLE CO.;
  EAGLE BAY, INC.; and DANIEL M. BYRD




                                         AFFIRMATION

          I, W. SCOTT NEWBERN, declare that I have personal knowledge of the facts set forth
  hereinabove, except as indicated, and declare under penalty of perjury of the laws of the United
  States of America that such facts are true and correct. Executed at 2982 East Giverny,
  Tallahassee, Florida 32309 this 9th day of March, 2012.



                                                   By:/s/ W. Scott Newbern, Esq.
                                                      W. Scott Newbern, Esq.




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 9th day of March, a copy of the foregoing was filed

  electronically. Notice of this filing will be sent to all parties through the Court’s Electronic Case

  Filing System. Parties may access this filing through the Court’s system.


                                                        /s/ W. Scott Newbern
                                                        W. SCOTT NEWBERN




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